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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

                                 Plaintiff,

        vs.                                                       No. 20-CR-01210-JAP


CHARLES JUSTICE,

                                 Defendant.


              NOTICE OF INTENT TO OFFER EXPERT TESTIMONY

        Pursuant to Federal Rule of Criminal Procedure 16(b)(1)(C) and the Court’s

discovery order, the Defendant Charles Justice (Mr. Justice) hereby gives notice that he

intends to introduce, during the defense presentation at trial, expert testimony and testimony

that may arguably be considered expert testimony, as described in the following paragraphs.

        Mr. Justice submits that the testimony of this expert witness is relevant to the issues

to be tried before the jury in this case. Further, the Mr. Justice submits that this testimony is

admissible under Federal Rules of Evidence 702 and 703, and that this witness has “a reliable

basis in knowledge and experience” in his respective discipline. As grounds, Mr. Justice

submits as follows:

        Mr. Justice plans to call Ms. Sara McDermott, a Senior Forensic Analyst with

Forensic Pursuit, LLC. to address and rebut, if necessary, the source of the cell phone data

extracted from Mr. Justice’s cell phone after said cell phone was seized and examined by the

government. A copy of Ms. McDermott’s curriculum vitae has been provided to counsel.
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        By way of background, Ms. McDermott is still awaiting final receipt of requested

discovery to complete her review of the subject extracted cell phone data, and thus has yet to

submit a final report in this matter.


                                               Respectfully Submitted:

                                        By:     /s/ Joe M. Romero, Jr.
                                               Joe M. Romero, Jr.
                                               ROMERO & WINDER, PC
                                               Attorney for Defendant
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 16th day of August 2020, I filed the foregoing
electronically through the CM/ECF system and served the same to opposing counsel.

By:     /s/ Joe M. Romero, Jr.
        Joe M. Romero, Jr.




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